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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC,1
                                                      Re: Docket No. 1145, 1190
                                                      Hearing Date: September 9, 2020, at 10:00 a.m. (ET)
                                Debtors.


      CENTURY’S SUPPLEMENTAL SUBMISSION IN SUPPORT OF ITS JOINDER
    TO THE DEBTORS’ MOTION [DKT. 1145] CENTURY’S SEPARATE REQUEST FOR
      RELIEF, OBJECTION TO THE COALITION’S MOTION THAT ITS RULE 2019
     STATEMENT BE ACCEPTED [DKT. 1190] OBJECTION TO THE COALITION’S
                 MOTION TO BE DEEMED A MEDIATION PARTY


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                                                   Westchester Surplus Lines Insurance Company




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
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                                PRELIMINARY STATEMENT

       A law corporation may practice law only under the name registered with the Secretary of

State and approved by the State Bar. The reason for this is simple. It is inherently deceptive to

be incorporated and registered with the bar under one name and operate under a separate

fictitious business name especially a name that implies it is something on then a law firm or

lawyer. Likewise, advertisements that imply that several lawyers practice together as a single

firm (whatever its name) or as staff lawyers for some larger, charitable or public-interest abuse-

prevention entity, when they do not, in fact, do so, are barred as misleading under the Model

Rules and state analogues. The comments to Model Rule 7.1 could not be clearer: “[l]awyers

may not imply or hold themselves out as practicing together when they are not a firm, as defined

in Rule 1.0(c), because to do so would be false and misleading.”

       The marketing monikers “Abused in Scouting,” and the “Coalition of Abused Scouts for

Justice,” are intentionally being used to obscure the nature of these entities. The Court need look

no further than how Coalition held itself out to this Court in its 2019 Statement, as Brown

Rudnick LLP and Blank Rome LLP representing 12,000 individual claimants as their clients,

against what the Official Committee of Tort Claimants (“TCC”) has since admitted in its filing

last week, that the Coalition is nothing more than “a marketing term” and that Brown Rudnick

has only signed an engagement letter with the law firms, not with their clients. Brown Rudnick

disclaims in its engagement letter having an attorney client relationship with any tort claimant.

       The “Abused in Scouting” campaign conveys the implication that Tim Kosnoff and

Andrew Van Arsdale, and others, function as a single firm, or as staff lawyers for some larger,

charitable or public-interest abuse-prevention entity. The retention letter printed with “Abused

in Scouting” letterhead that is employed by Messrs. Van Arsdale and Kosnoff furthers this

misimpression. Messrs. Van Arsdale, Kosnoff and a third lawyer are misleadingly presented as


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part of a single organization, with individual lawyers working out of separate offices. This is

demonstrably false, and the false impression it gives is both deceptive and violates ethical

standards nationwide.

       The deceptive nature of these ads also mask a more fundamental and troubling reality.

Mr. Kosnoff holds himself out as no longer practicing law and Mr. Arsdale is an advertising

company owner who only recently passed the bar. They are in the business of creating and

marketing “inventories” of claims. In the seedy underbelly of mass torts, individuals front for

“motherfunders” and a host of other non-lawyers who provide funding in exchange for a piece of

each claim. Mr. Kosnoff has contemptuously referred to the members as Official Committee

who are abuse survivors as “nitwits”.

       While the First Amendment protects commercial speech, it does not protect false or

misleading speech. A statement need not be factually inaccurate to be misleading—the Supreme

Court has considered the likely effect the content would have on a layperson and whether the ad

omits information necessary to avoid a misunderstanding on the part of a layperson. Under this

standard, statements may be misleading based on the context in which they are made or by

implication. Where, as here, the particular content or method of the advertising is inherently

misleading, appropriate restrictions may be imposed including an injunction against the

continuance of such advertisement.

       Multiple states mandate that attorney advertisements be submitted for review prior or

concurrent with its first public appearance. At a minimum, the Coalition and Abused in

Scouting’s advertisements ought to be enjoined until Messrs. Van Arsdale and Kosnoff certify

that they have made the required submissions in each of the states that require such submissions




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and have obtained approval in Texas where Mr. Kosnoff holds himself out as maintaining an

office.

                            FACTS DISCLOSED SINCE AFTER THE
                                AUGUST 28, 2020, HEARING

          As Century and Hartford explained in their Motion to Compel 2019 Disclosures from the

Coalition (“2019 Motion”) [D.I. 1164], the principal actors behind the Coalition (a self-described

non-practicing attorney, Tim Kosnoff, and an advertising company owner, Andrew Van Arsdale)

hold themselves out to the public through the artifice of “Abused in Scouting” aka the

“Coalition”.

          A.     Van Arsdale/Kosnoff Advertisements Under the Guise of an Assumed Name

          The face page of the “Abused in Scouting” website contains Boy Scout logos and badges

and the statement in bold 26 point type that: “We are the Survivors; Join the Movement.”1 On

the same page to the left, “We” is described as “a group of over 8,000 men.” The next, “About

Us” page, is captioned in large 26 point text as “Who We Are.” The answer provided is “Abused

in Scouting, A Movement of Survivors.”2 Abused in Scouting is described in the next line as “an

organization.” The reader is then told to “join us.” Elsewhere, the group describes itself as an

“organization” or a “coalition of men” to achieve justice.3

          At each step, the reader is encouraged to click a link that leads to a call center. It is made

apparent that money will be available. And a page tied to the face page links to pages that




1
    Aug. 26 Panchok-Berry Decl. Ex. 4. at 000004.
2
    Aug. 26 Panchok-Berry Decl. Ex. 4. at 000004, D.I. 1166.
3
    August 25, 2020 Declaration of Evan Roberts (“Robert Decl.”) Ex. A-1, D.I. 1145-3 (“I’ve met a
    coalition of men who joined together to hold the Boy Scouts accountable for what’s going on. Join
    us. Stand with us. We stand for everybody.”


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provide troop numbers and perpetrator names by location that can be cribbed into a proof of

claim.4

          The videos that channels traffic to the AIS website vary in nature but all share the

common device of referring to Abused in Scouting as an organization of scouts or former scouts.

There is no disclosure that AIS is linked to the Coalition or that there is any connection between

them. The Abused in Scouting website, along with its television and social media ad campaign,

promote it as a “Movement” and an “organization” of abuse victims.5

          Third-party marketing proxies are also used to foster the appearance that AIS is

something different than what it is through an online video that passes itself off as a newscast but

is simply marketing for Abused in Scouting.6

          B.     The Disclosures Made Since the Last Hearing About the Coalition / AIS

          Neither the Coalition nor the marketing title Abused in Scouting is an organization,

foundation, nonprofit, or other public service group. As the TCC has admitted in its submission,

these are simply names being used by an “advertising consortium.” D.I. 1228 at 6, 11.

          The documents filed by the Coalition on Friday evening demonstrates this. On

September 4, 2020, the Collation filed a heavily redacted partial copy of Brown Rudnick’s

retention agreement. D.I. 1257-1, p. 12-23.7 The Brown Rudnick agreement is executed by

Messrs. Arsdale and Kosnoff and four law firms. Id. at 17-22. The agreement states that it



4
    Aug. 26 Panchok-Berry Decl. ¶ 29, D.I. 1165.
5
    See, e.g., Aug. 26 Panchok-Berry Decl. Ex. 4. at 000004; August 25, 2020 Declaration of Evan
    Roberts (“Robert Decl.”) Ex. A-1, D.I. 1145-3 (“Abused in Scouting is an organization that represents
    over 4,000 men who were abused at the hands of the Boy Scouts.”).
6
    Declaration of Tancred Schiavoni (“Schiavoni Decl.”) ¶ 2.
7
    The Blank Rome LLP retention agreement was not produce. After the last hearing, Blank Rome
    advised the Office of the United States Trustee, BSA and Century that it intends to seek permission to
    withdraw. Blank Rome has since declined to confirm that it is still able to stand by the pleadings it
    filed for the Coalition.


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“do[es] not create an attorney-client relationship between Brown Rudnick and any individual

member [tort claimant].” Id. at 13. On the following page, the agreement confirms that the

Coalition’s counsel is to act at the “direction we receive from the Law Firms” and not by any

individual claimant. Id. at 14. Further, the agreement states that to the extent the applicable

rules of professional conduct may be waived, they are waived. Id. at 16. Otherwise, the

agreement states that the “Client Engagement Terms” are set forth in an attachment which

provides information on “the Firm’s relationship with its clients.” Id. at 13. Tellingly, this

document is withheld.

       The agreement is not signed by any tort claimant. Id. at 17-22. Nothing shows that any

tort claimant reviewed or consented to the retention agreement, let alone the payment of

Coalition counsel. Id. An eight sentence unsigned and unissued form letter to tort claimants is

produced but all it does is to say that they have joined the Coalition.8 Id. at 25.

       C.      The Van Arsdale/Kosnoff Use of Letterhead Other Than That of the Firms
               They are Authorized to Operate Under by their Respective State Bars.

       The form of retention letter that Messrs. Arsdale and Kosnoff claim to have used with

individual claimants is on letterhead stating in large type “AIS” and below that in large type

“Abused in Scouting”. Id. at 2. In small type in a row below the letterhead, appears “Kosnoff

Law” and “AVA Law Group” and a third lawyer with a city and state below each but not an

address. Id. In the first sentence of the retention letter, the names of the three are presented with

commas between them suggesting the three practice together in the same group. Mr. Kosnoff

lists himself as practicing law out of San Juan, Puerto Rico. For all intents and purposes, the


8
    Claimants are told in this letter that the Coalition has commenced discussions with insurance
    carriers. However, the Coalition, Brown Rudnick and Blank Rome have not had any
    communication with Century, or to our knowledge any other insurer, except to refuse to
    provide a Rule 2019 disclosures.


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letterhead gives the impression that the three lawyers are all employed by “AIS” or “Abused in

Scouting” when no such entity actually exists. Id.

        The retention letter used by Messrs. Arsdale and Kosnoff does not identify any of the co-

counsel as serving as co-counsel, provide any disclosure of how responsibility for a claimant’s

case will be shared with co-counsel or what services if any Messrs. Arsdale or Kosnoff will

provide, if any. Id. The agreement does not seek the client’s consent for fee sharing or provide

any disclosure of how fees are shared. Id. Nor does it explain or seek the client’s consent to

waive conflicts arising in a multi-party engagement. Id.

        D.      Who are Messrs. Van Arsdale and Kosnoff?

        AVA Law Group, Inc.’s website lists a single attorney, Mr. Van Arsdale, who only

graduated law school in 2018.9 The address provided for the AVA Law Group, Inc.’s is a

storefront that appears to be a mail drop. Mr. Van Arsdale is better known as the co-owner and

founder of a legal marketing firm where he has worked for years which provides call center,

SEO, and other marketing services.10

        Mr. Kosnoff’s website represents that he is retired from the practice of law and lists other

services (such as media commentator and mass tort bankruptcy consulting) that he offers. The

website provides a link to the Abused in Scouting website at the top of the homepage.11 On his

website, Mr. Kosnoff lists a Houston address as his business address. It appears to be a mail




9
     Aug. 26 Panchok-Berry Decl. Ex. 6, D.I. 1166.
10
     Id. Ex. 8.
11
     Id. Ex. 9.


                                                     6
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drop box.12 Mr. Kosnoff is registered with the Washington (but not Texas) State Bar.13 His

Washington State Bar profile page lists the same Houston mail drop box as his only address.14

        E.      Van Arsdale / Kosnoff’s Refusal to be Questioned

        Century served deposition notices for the depositions of Messrs. Van Arsdale and

Kosnoff after the TCC turned over Mr. Kosnoff’s email to the Office of the United States

Trustee in which he refers to the abuse claimants who serve as members of the Committee as

“nitwits” and threatens BSA and Committee. Brown Rudnick, which under the terms of the

retention agreement signed by Messrs. Van Arsdale and Kosnoff may not act contrary to their

instructions, advised Century on September 6, 2020, that Messrs. Van Arsdale and Kosnoff will

not appear for deposition in response to notice.

        F.      Van Arsdale / Kosnoff Advertising has Nationwide Reach Triggering Ethics
                Requirements in all 50 States

        The Abused in Scouting and Coalition advertising has nationwide reach, and is targeted

at all 50 states. The website includes a “Map of Scouting Abuse Locations” which provides

“locations by state, troop number, city, and camp name where our clients reported they were

abused by BSA leaders.”15 (emphasis added). The website also includes what is referred to as a

“List of Confirmed BSA Abusers,” which allows viewers of the website to search a list of

allegedly “confirmed” sex abusers, again in all 50 states.16 Those behind Abused in Scouting

have also been running ads and producing longer, infomercial-style promotional videos—many

of these ads can be found on the Abused in Scouting website, social media accounts, and on



12
     Id. Exs. 9, 12, 13.
13
     Id. Ex. 11.
14
     Id.
15
     See Aug. 26 Panchok-Berry Decl. Ex. 4 at 000003, D.I. 1166.
16
     See Aug. 26 Panchok-Berry Decl. ¶ 29, D.I. 1165.


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YouTube.17 The ads all direct viewers to contact Abused in Scouting and provide the website

and a phone number.18

                                               ARGUMENT

         While the First Amendment protects commercial speech,19 it does not protect false or

misleading speech.20 A statement need not be factually inaccurate to be misleading—the

Supreme Court has considered the likely effect the content would have on a layperson and

whether the ad omits information necessary to avoid a misunderstanding on the part of a

layperson.21 For example, in Zauderer, the Supreme Court deemed and advertisement that stated

“[i]f there is no recovery, no legal fees are owed by our clients” factually accurate but

misleading.22 The deceptive aspect was the suggestion that clients would not incur any out-of-

pocket costs—a lay viewer would have had necessary background knowledge to distinguish




17
     Id.
18
     Several of the ads were transcribed by Debtors and submitted with their Motion. See August 25, 2020
     Declaration of Evan Roberts (“Robert Decl.”), Exs. A-1, A-2, F-1, F-2, F-3, D.I. 1145-3. Century and
     Hartford likewise described certain videos and provided partial or full transcripts as exhibits to their
     Motion to Compel Supplemental 2019 Disclosures. See Aug. 26 Panchok-Berry Decl. ¶¶ 26–28. At
     least one advertisement, posted on August 26, 2020 and removed from YouTube and the Abused in
     Scouting website as of September 4, 2020, is also transcribed in a Declaration filed herewith. See
     Declaration of Tancred Schiavoni ¶ 3, Ex. 1.
19
     See Bates v. State Bar of Ariz., 433 U.S. 350, 363 (1977); see also Daniel Backer, Note, Choice of
     Law in Online Legal Ethics: Changing a Vague Standard for Attorney Advertising on the Internet, 70
     Fordham L. Rev. 2409, 2415 (2002); Daniel Callendar, Attorney Advertising and the Use of
     Dramatization in Television Advertisements, 9 UCLA Ent. L. Rev. 89, 92–95 (2001).
20
     See Bates, 433 U.S. at 383; see also Fla. Bar v. Went For It, Inc., 515 U.S. 618, 623-24 (1995); In re
     R.M.J., 455 U.S. 191, 201 (1982); Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S.
     557, 566 (1980); William G. Hyland Jr., Attorney Advertising and the Decline of the Legal
     Profession, 35 J. Legal Prof. 339, 358 (2011) (“[T]he Bates decision established two principles
     regarding lawyer advertising: first, the informational function of lawyer advertising is entitled to First
     Amendment protection. Second, states have the power to protect the public from harmful commercial
     speech, such as false or misleading advertising.”).
21
     Elizabeth Tippett, Medical Advice from Lawyers A Content Analysis of Advertising for Drug Injury
     Lawsuits, 41 Am. J. L. & Med. 7, 31–32 (2015).
22
     Zauderer v. Office of Disciplinary Counsel of the Supreme Court of Ohio, 471 U.S. 626, 652 (1985).


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between “fees” and “costs,” which was knowledge outside of the average layperson’s

understanding.23 Thus the ad was “self-evident[ly]” misleading.24

         Under this standard, statements may be misleading based on the context in which they are

made or by implication.25 “[W]hen the particular content or method of the advertising

suggests that it is inherently misleading or when experience has proved that in fact such

advertising is subject to abuse, the States may impose appropriate restrictions. Misleading

advertising may be prohibited entirely.”26

I.       THE COALITION ADVERTISEMENTS MASK THE TRUE NATURE OF THE
         ENTITY THROUGH WHICH THEY ARE OPERATING

         All state ethics rules prohibit false or misleading advertising, with the vast majority

following or closely resembling Model Rule 7.1.27 The states that diverge from Model Rule 7.1

“tend to leave the definition of ‘false or misleading’ intact, but furnish specific examples of

content the state considers misleading.”28 A particular deceptive practice is the use of names that

mask that viewers are dealing with a for profit law firm.


23
     Id.
24
     Id.. Where the misleading quality of the advertisement is not apparent, the Supreme Court expects
     some evidence of actual harm to support arguments that the advertisement is potentially misleading.
     See Peel, 496 U.S. at 101-04 (noting the absence of any evidence of actual harm where Supreme
     Court was unpersuaded by state’s argument as to the potentially misleading nature of a statement);
     see also Ibanez v. Fla. Dept. of Bus. & Prof’1 Regulation, Bd. of Accountancy, 512 U.S. 136, 145
     (1994) (finding state must proffer some evidence of deception, or more than the “possibility of
     deception in hypothetical cases”); Mason v. Fla. Bar, 208 F.3d 952, 957 (11th Cir. 2000) (finding
     “common sense” arguments insufficient to justify disclaimer requirement absent empirical evidence
     that public was misled).
25
     See Peel, 496 U.S. at 102; Kraft, Inc. v. FTC, 970 F.2d 311, 314 (7th Cir. 1992) (interpreting
     Zauderer to mean that implied claims can also be the basis of false or misleading speech outside the
     protection of the First Amendment); Farrin v. Thigpen, 173 F. Supp. 2d 427, 437 (M.D.N.C. 2001).
26
     Peel v. Attorney Registration and Disciplinary Comm’n of Ill., 496 U.S. 91, 100 (1990) (emphasis
     added).
27
     Elizabeth Tippett, Medical Advice from Lawyers A Content Analysis of Advertising for Drug Injury
     Lawsuits, 41 Am. J. L. & Med. 7, 31–32 (2015); Schiavoni Decl. Ex. 2.
28
     Elizabeth Tippett, Medical Advice from Lawyers A Content Analysis of Advertising for Drug Injury
     Lawsuits, 41 Am. J. L. & Med. 7, 31–32 (2015) Schiavoni Decl. Ex. 2.


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         Four states outright bar the use of “trade names” that do not include the name of at least

one lawyer at the firm as inherently deceptive: Indiana,29 Mississippi,30 New Jersey,31 and

Rhode Island.32 A fifth state, North Carolina, requires any lawyer using a trade name in

advertising to first submit it to the state ethics panel for review.33 Ohio specifically requires that

a lawyer not practice under a name that is misleading as to the identity of the lawyer, providing

that “A lawyer shall not use a firm name, letterhead or other professional designation that

violates Rule 7.1 [i.e., is materially misleading]. A lawyer in private practice shall not practice

under a name that is misleading as to the identity of the lawyer or lawyers practicing under the

name . . . .”34 Rules in in the bulk of the other states specially call out the practice of using trade

names and other advertising phrases that imply connections with a non-profit or public service




29
     Ind. Rules of Prof’l Conduct R. 7.5(a)(4) (firm name must include full or last name of at least one
     present or past principal attorney).
30
     Miss. Rules of Prof’l Conduct R. 7.7(b) (barring the use of trade names, fictitious names, and names
     that are otherwise “misleading as to the identity of the lawyer or lawyers practicing under such
     name”).
31
     N.J. Rules of Prof’l Conduct R. 7.5(a) (firm name must include full or last name of at least one
     present or past principal attorney).
32
     R.I. Rules of Prof’l Conduct R. 7.5(a). (firm names must “include full or last name of one or more
     principal attorneys actively practicing law on behalf of the law firm” or the names deceased or retired
     attorneys or names of predecessor firms).
33
     N.C. Rules of Prof’l Conduct 7.5(a) (“Every trade name used by a law firm shall be registered with
     the North Carolina State Bar for a determination of whether the name is misleading.”).
34
     Ohio Rules of Prof’l Conduct 7.5(a). The rules of professional conduct in California, where Van Arsdale is
     licensed prohibit “the name is deceptive with respect to the identity of the members of the
     firm who are performing legal services.”34


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entity as deceptive and barred for that reason.35 Ethics opinions specifically call out the practice

of using trade names to falsely give the impression of a nonprofit affiliation.36

        In those states where a lawyer may operate under a non-deceptive trade, that name is the

one the lawyer or law firm is to incorporate under and operate. The State Bars expects a

lawyer to do business solely under their name. It is inherently deceptive to be incorporated and

registered with the bar under one name and operate under a separate fictitious business name.

        It is prohibited by the State Bar of California, where Mr. Arsdale is licensed and resides,

for any law corporation to use a fictitious name or a “DBA”. Under Section 3.154(B) of the

California Business & Professions Code, “A law corporation may practice law only under the

name registered with the Secretary of State and approved by the State Bar.” California Business

& Professions Code § 3.154 see also 3.174(b) (same for limited liability partnerships).

        The marketing monikers “Abused in Scouting,” and the “Coalition of Abused Scouts for

Justice,” are intentionally being used to obscure the nature of these entities. The Court need look

no further than how Coalition held itself out to this Court in its 2019 Statement, as Brown

Rudnick/Blank Rome representing 12,000 individual claimants as its clients, against what the

TCC has since admitted in its filings, that the Coalition is nothing more than “a marketing term”


           35

54. See, e.g., C. BAR ETHICS ADVISORY COMM., ETHICS ADVISORY OP. 13-05, 2013 WL
     7196338, at *1 (2013) (use of phrase “legal helpline” or “injury hotline” suggested non-profit or
     government affiliation); CONN. BAR ASSOC. COMM. ON PROF’L ETHICS, INFORMAL OP.
     NO. 01-03, 2001 WL 694581, at *3 (2001) (phrase “free public service” suggested advertiser was a
     non-profit); STATE BAR OF CAL., STANDING COMM. ON PROF’L RESP. & CONDUCT,
     FORMAL OP. 2004-167, 2004 WL 3079032, at *2 (2004) (“workers compensation relief center”
     suggested official government status); A.B.A. Comm. on Prof’l Ethics & Grievances, Formal
     Op. 178 (1938) (demand letter formatted as a Fla. Bar v. Doe, 634 So. 2d 160,161 (Fla. 1994)
     (advertisement labeled “public service announcement” and “not an advertisement” misleading);
     Farrin v. Thigpen, 173 F. Supp. 2d 427, 445 (M.D.N.C. 2001) (disclaimer following deceptive
     content insufficient to cure deception).
36
     CA Eth. Op. 2004-167, 2004 WL 3079032; SC Adv. Op. 13-05, 2013 WL 7196338; Conn. Bar
     Assoc. Comm. on Prof'l Ethics, Informal Op. No. 01-03, 2001 WL 694581.


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and that Brown Rudnick has only signed an engagement letter with the law firms, not with their

clients.37

         The AIS website and AIS advertisements channeling traffic to the site provide nothing,

other than small-text disclaimer at the very end, to explain that what is being shown is actually

an advertisement to hire a lawyer.38 This does not cure the misimpression. Both the Model

Rules and case law provide that these kind of disclaimers do not cure otherwise deceptive

statements.39 In some cases these disclaimers are only visual (without any accompanying

voiceover disclaimer) and only shown for approximately three seconds at the very end of a long

advertisement that has only identified Abused in Scouting, not the underlying lawyers.40

         Even then, the disclaimers do not explain what “Abused in Scouting” the “organization”

actually is. Other ads refer to “the attorneys at Abused in Scouting,” suggesting that Abused in

Scouting is some larger charitable or public advocacy entity also offering legal services.41 The

explicit and implicit impression that is conveyed to viewers is that they are being asked to “join a

movement” or a “coalition” by become part of “Abused in Scouting,” when in reality this entity

is simply a front for a lawyer seeking 33 to 40 percent of each client’s claim—one of whom is a

self-described non-practicing lawyer and the other is solo practitioner less than two years out of

school. This is the exact sort of deception that the Model Rules prohibit.


37
     D.I. 1228 at 3, 11.
38
     In small type at the very bottom of the page and after the links that viewers as asked to complete to
     “join” a statement appears that “ATTORNEY ADVERTISEMENT - This website and the
     information contained herein has been prepared by AVA Law Group solely for informational
     purposes and nothing contained in this website is intended for nor should it be construed as rendering
     legal advice to the person reading the website.”
39
     Model Rules Prof’l Conduct 7.1 cmt. [3] (“The inclusion of an appropriate disclaimer or qualifying
     language may preclude a finding that a statement is likely to create unjustified expectations or
     otherwise mislead the public.”).
40
     Schiavoni Decl. Ex. 3.
41
     Schiavoni Decl. ¶ 3.


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          State ethical rules apply in bankruptcy and should be given particular weight in

bankruptcy, as opposed to other contexts.42

II.       LAWYERS MAY NOT FALSELY HOLD THEMSELVES OUT AS
          ASSOCIATED IN A SINGLE PRACTICE

          The “Abused in Scouting” campaign conveys the implication that Messrs. Kosnoff, Van

Arsdale, and others, function as a single firm, or as staff lawyers for some larger, charitable or

public-interest abuse-prevention entity. The retention letter printed with Abused in Scouting

letter head that is employed by Messrs. Van Arsdale and Kosnoff furthers this misimpression.

Messrs. Van Arsdale, Kosnoff and a third lawyer are misleadingly presented as part of a single

organization, with individual lawyers working out of separate offices.43 This is demonstrably

false, and the false impression it gives violates ethical standards nationwide.

          Advertisements that imply that several lawyers practice together as a single firm, when

they do not, in fact, do so, are barred as misleading under the Model Rules and state analogues.44

The comments to Model Rule 7.1 could not be clearer: “[l]awyers may not imply or hold

themselves out as practicing together when they are not a firm, as defined in Rule 1.0(c), because

to do so would be false and misleading.”45 State bar associations warn that this conduct is

deceptive and violates ethical rules. For example, a South Carolina ethics opinion warned that

“advertisement[s] may not falsely imply a practice affiliation among the advertising lawyers.”46




42
      1 Collier on Bankruptcy, ¶ 8.01[1] (“Ethical rules are often considered more necessary and applicable
      in bankruptcy cases.”).
43
      D.I. 1257-1 at 3.
44
      Model R. Prof’l Conduct 7.1 cmt. [7].
45
      Id.
46
      SC Adv. Op. 13-05, 2013 WL 7196338.


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        The Coalition and Abused in Scouting are comprised of at least three limited liability

entities, two of whom are solo practices.47 The persistent references to “the lawyers at Abused in

Scouting,” and the presentation of the group as a united public-interest organization

misrepresents these several separate firms and solo practitioner as one cohesive unit.

        An ad for Abused in Scouting uploaded to YouTube on August 26, 2020, which was

publicly available as of the evening of September 3, 2020, illustrates this tactic.48 A screenshot

taken of the video reflects that it was viewed over 28,000 times before being removed.49 The

clip does not mention or refer to AVA Law Group or any law firm or attorney at all. Rather, it

gives a viewer the impression that Abused in Scouting is some sort of public service entity

providing legal services: “At Abused in Scouting, our attorneys fight to ensure scouting abuse

survivors are heard, protected and compensated for their abuse.”50 The final frames of the video

overlay a graphic that displays the name “AIS | Abused in Scouting” and provides a toll-free

number, while audio tells viewers to “call the lawyers at Abused in Scouting now.”51

        The fact that videos like this can be posted and then quickly removed highlights the need

for the Court to act: fundamentally misleading ads can be run, viewed by tens of thousands of

claimants who may be misled about whom they are contacting or for what purpose, and then

quickly taken down.




47
     The disclaimer that website viewers must click through to review acknowledges that services may
     performed by “affiliated law firms of AVA Law Group.” Aug. 26 Panchok-Berry Decl. Ex. 4 at
     000014, D.I. 1166.
48
     Schiavoni Decl. ¶ 2, Ex. 1.
49
     Id. Ex. 1.
50
     Id. ¶ 2.
51
     Id. ¶ 2, Ex. 1.


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III.       LAWYERS MAY NOT ADVERTISE IN A MANNER THAT OBFUSCATES THE
           FACT THAT THE CONTENT IS AN ATTORNEY ADVERTISEMENT

           A failure to disclose the attorney source of the advertising violates Model Rule 7.2(c),

which requires that the actual sponsoring firm or attorney be disclosed. In other states, rules

require that advertising make clear the geographic location of the office that will provide the

advertised services or the identification of any attorney not affiliated with the advertising firm

who has paid for any portion of the advertising costs.52 Abused in Scouting’s disclaimers only

list the name office address of a single attorney, Andrew Van Arsdale,53 and an office location

that appears to be a storefront office used by several unaffiliated solo practitioners and small

partnerships.54 No information is given about the geographic location of the lawyers actually

handling the cases of the thousands of clients that the Coalition claims to represent, let alone the

name or geographic information of Mr. Kosnoff, whose association with Abused in Scouting is

less obscured, if still opaque based on the publicly available information.




52
       See, e.g., Pa. Rules Of Prof’l Conduct R. 7.2(j) (“A lawyer shall not, directly or indirectly (whether
       through an advertising cooperative or otherwise, pay all or any part of the costs of an advertisement
       by a lawyer not in the same firm or by any for-profit entity other than the lawyer’s firm, unless the
       advertisement discloses the name and principal office address of each lawyer or law firm involved in
       paying for the advertisement and, if any lawyer or law firm will receive referrals from the
       advertisement, the circumstances under which referrals will be made and the basis and criteria on
       which the referral system operates.”); Fla. Rules Of Prof’l Conduct R. 4-7.2(c)(7) (“No lawyer shall,
       directly or indirectly, pay all or a part of the cost of an advertisement by a lawyer not in the same
       firm.”).
53
       Panchok-Berry Decl. Ex. 4 at 000011–14.
54
       Id. Ex. 7.


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IV.       VAN ARSDALE AND KOSNOFF ADVERTISING DOES NOT COMPLY WITH
          THE RULES IN THE JURISDICTIONS IN WHICH THEY ASSOCIATE

          A.      Timothy Kosnoff

          State-specific advertising rules in Texas, where Mr. Kosnoff’s website, advertising legal

services through “Kosnoff Law” lists his address, are relevant to the Abused in Scouting’s

campaign.

          Mr. Kosnoff provides a Texas address on his website and Washington State Bar profile.55

Texas law prohibits lawyers who are not licensed in Texas from engaging in the unauthorized

practice of law in Texas.56 These rules are applicable to non-lawyers.57 Likewise, under Rule

5.05(b) of the Texas Disciplinary Rules of Professional Conduct, a Texas lawyer is prohibited

from assisting “a person who is not a member of the bar in the performance of activity that

constitutes the unauthorized practice of law.”58 A search on the Texas Bar website

(texasbar.com) returns no results for “Kosnoff”, “Kosnoff Law” or “Kosnoff Law PLLC”.

Century was not able to confirm Mr. Kosnoff’s admission in Puerto Rico.

          The Texas bar rules that apply to attorney advertising including Rules 7.01 through 7.07

of the Texas Disciplinary Rules of Professional Conduct (“TDRPC”). The Bar Rules for

attorney advertising cover online communications on a website, blog, or social media platform

because the rules “govern[] all communications about a lawyer's services.”59 For this reason,

every online communication that mentions the lawyer's services are considered to be advertising

under the TDRPC.


55
      Aug. 26 Panchok-Berry Decl. Exs. 9, 10, 11, 12, 13.
56
      Tex. Gov. Code 81.101 et seq.
57
      Id.
58
      Tex. Disciplinary R. Prof’l Conduct 5.05(b).
59
      Id. r. 7.02 & cmt. 2.[Q: inserted in TOA as “Tex. Disciplinary R. Prof’l Conduct 7.01-7.02 [cmt. 2].”
      Is this as intended?]


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         Mr. Kosnoff’s Abused in Scouting advertisements violates the TDRPC’s advertising

sections:

     •   Rule 7.01(a) prohibits practicing under a trade name (such as AIS or the Coalition), a
         name that is misleading as to the identity of the lawyer or lawyers practicing under such
         name;

     •   Rule 7.01(e) prohibits use of advertising under a trade or fictitious name unless the trade
         name appears on the lawyer’s letterhead, business cards, office sign, fee contracts, and
         with the lawyer’s signature on pleading and other legal documents. Neither Abused in
         Scouting or the Coalition is such a trade name.

     •   Rule 7.04(j) requires advertising to disclose the geographic location of the lawyers’ or
         firms’ principal office. Another office address may be used if that office is staffed at
         least three days a week and the advertisement gives dates and times the lawyer will be
         present in that office and provides for meetings by appointment only. None of the web
         advertising for Abused in Scouting meets this criteria. Mr. Kosnoff’s website lists a
         Texas address. But, by all accounts, he is retired elsewhere.

         And, unless exempted under Rule 7.07(e) which is not the case here, lawyers must submit

for review advertisements, including websites, with the Lawyer Advertisement and Solicitation

Review Committee of the State Bar of Texas under Rule 7.07(b) and (c). There is no indication

that Mr. Kosnoff has complied.

         B.     Andrew Van Arsdale

         Mr. Van Arsdale is a member of the California and Nevada state bars. Nevada, like

Texas, has a mandatory requirement that lawyer advertisements be filed with the state bar, within

15 days of the first dissemination, for review by a committee.60 Nev. R. Prof’l Conduct 7.2A.

There is no indication that Mr. Arsdale has complied. California requires that lawyers such as

Mr. Arsdale who choose to operate though a California professional corporation, not to use a

fictitious name or a “DBA”. Under Rule 3.154 of the State Bar of California, “A law corporation



60
     Aug. 26 Panchok-Berry Decl. Ex. 6, D.I. 1166.


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may practice law only under the name registered with the Secretary of State and approved by the

State Bar.”

V.       MANDATORY REPORTING REQUIREMENTS

         In addition to Nevada and Texas, other states mandate that attorney advertisements be

submitted for review prior or concurrent with its first public appearance, including Connecticut,61

Louisiana,62 Florida,63 and Mississippi.64 Given the nationwide reach of Coalition / Abused in

Scouting’s advertisements, Messrs. Van Arsdale—and Kosnoff are bound to comply with these

rules. However, there is no indication that they have complied with these rules. Particularly

given the ever-changing nature of advertisements being posted and changes being made to their

website, the Court should order Abused in Scouting and the Coalition to certify their compliance

with these rules.

                                            CONCLUSION

         For the forgoing reasons, the Court should enter an order enjoining the continued

deceptive use of “Abused in Scouting” and the “Coalition” in the advertisements run by Mr.

Kosnoff and Van Arsdale, compel the Coalition to comply with Rule 2019 and deny the

Coalition participating in the mediation as a mediation party. In addition, the Court should order

the lawyers associated with Abused in Scouting to submit proof that they have complied with the


61
     Conn. Statewide Grievance Comm. R. Proc. § 2-28A, Rule 14 (legal advertisements must be filed
     with the Statewide Grievance Committee prior to or concurrently with first dissemination of
     advertisement).
62
     La. Rules Prof’l Conduct 7.7 (lawyers are obligated to file ALL non-exempt advertisements and
     unsolicited written communications with the LSBA Rules of Professional Conduct Committee,
     through LSBA Ethics Counsel, prior to or concurrent with first use/dissemination of
     the advertisement/communication).
63
     Fla. Rules Prof’l Conduct 4-7.19 (advertisements, with some exceptions, must be filed with the
     Florida Bar at least 20 days before they are disseminated).
64
     Miss. Rules Prof’l Conduct 7.5(g) (“A copy or recording of any advertisement to be published shall
     be submitted to the Office of General Counsel of the Mississippi Bar (OGCMB) prior to its first
     dissemination.”).


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rules of those jurisdictions, including those in Texas and Nevada, that mandate that lawyer

advertisements be submitted to the state bar for or concurrent with an advertisement being run.




Dated: September 8, 2020                          Respectfully Submitted,


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